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 5   Attorneys for Defendants

 6

 7

 8                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9
     KRISTIN ANDRADE, as Trustee for The Paul
10   H. Stavig Family Revocable 1976 Trust, f/k/a               No. 3:18-cv-05997-RBL
     The Paul and Lorraine Stavig Revocable Living
11   Trust, dated February 11, 1976; and KRISTIN                MOTION TO SET TRIAL DATE
     ANDRADE, as Trustee of The California Special
12   Fund Oral Trust, dated June 27, 2012;                      NOTE ON MOTION
                                                                CALENDAR: OCTOBER 2, 2020
13                                   Plaintiffs,

14           v.

15   BARRY ANTON, an individual; BARRY
     ANTON, as Personal Representative for the
16   Estate of Maren Stavig; BARRY ANTON, as
     Trustee of the Anton and Stavig Living Trust;
17   The Estate of Maren Stavig; The Anton and
     Stavig Living Trust,
18                                Defendants.

19

20                                      I.         RELIEF REQUESTED

21           Defendant Barry Anton respectfully requests that the Court set a trial date to occur

22   before December 18, 2020, but preferably in either late October or November 2020. No

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     MOTION TO SET TRIAL DATE
     (Cause No. 3:18-cv-05997-RBL) – Page 1
25                                                                                        1501 Dock Street
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 1   additional scheduling order dates are needed as the Court’s prior order carried the parties

 2   through discovery and trial submissions.

 3                                            II.      SUPPORT

 4           The records and files herein, as well as the Declaration of Defendant’s counsel,

 5   Thomas P. Quinlan (“Quinlan Decl.”) with exhibits, support this Motion.

 6                                              III.    BASIS

 7           Plaintiff filed this matter in this court on December 3, 2018 (Dkt. 1), approximately

 8   two months after Plaintiff filed identical claims in the U.S. District Court, Eastern District of

 9   California, Sacramento Division, under cause number 2:18-CV-02711 (the “California federal

10   action”). See Amended Complaint, ¶¶ 33, 43, 50, 54, 56 (Dkt. #22). This matter has been

11   pending for nearly two years.

12           Under the case scheduling order issued March 4, 2019, trial was set to occur Janu-

13   ary 3, 2020. (Dkt. 18), and was continued to April 27, 2020 under Plaintiff’s motion to

14   continue. (Dkt. 47); (Dkt. 49). The Covid-19 pandemic interfered with this date, and trial was

15   set again for August 10, 2020. (Dkt. 59). On July 14, 2020, the trial date was stricken – again,

16   but all other deadlines in the case schedule remained intact and have now passed. Quinlan

17   Decl. at Ex. 1. No new trial date has been issued. In an email received July 15, 2020, the

18   Court advised, “The case would be teed up and ready to go for the next judge. Judge Leighton

19   is not setting new trial dates. However, the parties may propose an agreed new trial date.” Id.

20           The parties concur this matter will be a two day trial to the bench. The parties have

21   waived jury trial. However, a trial before December 18, 2020 is requested in order to avoid

22   further delay and prejudice. The Defendant will incur financial prejudice if the matter is not

23   concluded as requested.

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 1           The Defendant’s counsel is winding up his private practice by mid-December 2020.

 2   He has been elected to serve as Pierce County Superior Court judge and will take office in

 3   January 2021. Id. Therefore, the Defendant respectfully requests that this matter, which has

 4   now been pending for nearly two years, be set for a two-day bench trial no later than

 5   concluding on December 18, 2020. Id.

 6           Defense counsel has coordinated with Plaintiff’s counsel to confirm available trial

 7   dates through November 2020. Id.

 8           Available trial dates for both parties are:

 9              October 26-30

10              November: 2-3, 10-20, and 30. Id. at Ex. 2.

11                                            IV.   CONCLUSION

12           The Defendant respectfully requests the Court set a trial date for a two-day bench trial

13   to occur in late October or November, but no later than concluding December 18, 2020. No

14   additional dates are required of the Court as the prior scheduling order carried the parties

15   through submission of trial materials and discovery.

16           RESPECTFULLY SUBMITTED this 18th day of September, 2020.

17
                                              SMITH ALLING, P.S.
18

19                                            /s/ Thomas P. Quinlan
                                              Thomas P. Quinlan, WSBA No. 21325
20                                            Andrea H. Brewer, WSBA No. 52724
                                              Attorneys for Defendant
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 1                                       CERTIFICATE OF SERVICE
 2           I HEREBY CERTIFY that on the below date, I caused the foregoing document to be served
     pursuant to the Fed. R. Civ. Proc. 5(b)(2)(E), by sending it to a registered user by filing with the
 3   Court’s electronic filing system as indicated below:

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             Seattle, WA 98101-3118
13           scott@rgbcounsel.com

14
             SIGNED AT Tacoma, Washington on this 18th day of September, 2020.
15

16
                                                              /s/ Julie A. Perez
                                                              Julie A. Perez
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